   Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 1 of 889 PageID 3503




                            VOL       3 OF 11
                                                                 No.74851.
              PATRICK HENRY MURPHY, JR.
                                                                       APPELLANT



CAPITAL MURDER                                                       DEATH
OFFENSE                                                              PUNISHMENT



                                                                  DALLAS
CONTENTS: RR VOLS.   10 - 15                                               COUNTY
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 2 of 889 PageID 3504
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 3 of 889 PageID 3505
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 4 of 889 PageID 3506
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 5 of 889 PageID 3507
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 6 of 889 PageID 3508
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 7 of 889 PageID 3509
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 8 of 889 PageID 3510
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 9 of 889 PageID 3511
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 10 of 889 PageID 3512
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 11 of 889 PageID 3513
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 12 of 889 PageID 3514
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 13 of 889 PageID 3515
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 14 of 889 PageID 3516
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 15 of 889 PageID 3517
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 16 of 889 PageID 3518
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 17 of 889 PageID 3519
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 18 of 889 PageID 3520
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 19 of 889 PageID 3521
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 20 of 889 PageID 3522
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 21 of 889 PageID 3523
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 22 of 889 PageID 3524
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 23 of 889 PageID 3525
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 24 of 889 PageID 3526
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 25 of 889 PageID 3527
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 26 of 889 PageID 3528
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 27 of 889 PageID 3529
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 28 of 889 PageID 3530
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 29 of 889 PageID 3531
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 30 of 889 PageID 3532
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 31 of 889 PageID 3533
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 32 of 889 PageID 3534
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 33 of 889 PageID 3535
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 34 of 889 PageID 3536
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 35 of 889 PageID 3537
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 36 of 889 PageID 3538
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 37 of 889 PageID 3539
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 38 of 889 PageID 3540
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 39 of 889 PageID 3541
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 40 of 889 PageID 3542
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 41 of 889 PageID 3543
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 42 of 889 PageID 3544
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 43 of 889 PageID 3545
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 44 of 889 PageID 3546
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 45 of 889 PageID 3547
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 46 of 889 PageID 3548
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 47 of 889 PageID 3549
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 48 of 889 PageID 3550
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 49 of 889 PageID 3551
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 50 of 889 PageID 3552
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 51 of 889 PageID 3553
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 52 of 889 PageID 3554
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 53 of 889 PageID 3555
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 54 of 889 PageID 3556
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 55 of 889 PageID 3557
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 56 of 889 PageID 3558
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 57 of 889 PageID 3559
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 58 of 889 PageID 3560
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 59 of 889 PageID 3561
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 60 of 889 PageID 3562
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 61 of 889 PageID 3563
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 62 of 889 PageID 3564
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 63 of 889 PageID 3565
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 64 of 889 PageID 3566
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 65 of 889 PageID 3567
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 66 of 889 PageID 3568
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 67 of 889 PageID 3569
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 68 of 889 PageID 3570
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 69 of 889 PageID 3571
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 70 of 889 PageID 3572
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 71 of 889 PageID 3573
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 72 of 889 PageID 3574
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 73 of 889 PageID 3575
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 74 of 889 PageID 3576
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 75 of 889 PageID 3577
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 76 of 889 PageID 3578
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 77 of 889 PageID 3579
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 78 of 889 PageID 3580
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 79 of 889 PageID 3581
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 80 of 889 PageID 3582
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 81 of 889 PageID 3583
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 82 of 889 PageID 3584
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 83 of 889 PageID 3585
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 84 of 889 PageID 3586
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 85 of 889 PageID 3587
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 86 of 889 PageID 3588
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 87 of 889 PageID 3589
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 88 of 889 PageID 3590
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 89 of 889 PageID 3591
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 90 of 889 PageID 3592
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 91 of 889 PageID 3593
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 92 of 889 PageID 3594
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 93 of 889 PageID 3595
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 94 of 889 PageID 3596
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 95 of 889 PageID 3597
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 96 of 889 PageID 3598
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 97 of 889 PageID 3599
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 98 of 889 PageID 3600
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 99 of 889 PageID 3601
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 100 of 889 PageID 3602
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 101 of 889 PageID 3603
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 102 of 889 PageID 3604
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 103 of 889 PageID 3605
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 104 of 889 PageID 3606
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 105 of 889 PageID 3607
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 106 of 889 PageID 3608
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 107 of 889 PageID 3609
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 108 of 889 PageID 3610
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 109 of 889 PageID 3611
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 110 of 889 PageID 3612
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 111 of 889 PageID 3613
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 112 of 889 PageID 3614
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 113 of 889 PageID 3615
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 114 of 889 PageID 3616
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 115 of 889 PageID 3617
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 116 of 889 PageID 3618
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 117 of 889 PageID 3619
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 118 of 889 PageID 3620
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 119 of 889 PageID 3621
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 120 of 889 PageID 3622
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 121 of 889 PageID 3623
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 122 of 889 PageID 3624
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 123 of 889 PageID 3625
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 124 of 889 PageID 3626
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 125 of 889 PageID 3627
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 126 of 889 PageID 3628
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 127 of 889 PageID 3629
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 128 of 889 PageID 3630
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 129 of 889 PageID 3631
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 130 of 889 PageID 3632
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 131 of 889 PageID 3633
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 132 of 889 PageID 3634
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 133 of 889 PageID 3635
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 134 of 889 PageID 3636
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 135 of 889 PageID 3637
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 136 of 889 PageID 3638
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 137 of 889 PageID 3639
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 138 of 889 PageID 3640
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 139 of 889 PageID 3641
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 140 of 889 PageID 3642
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 141 of 889 PageID 3643
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 142 of 889 PageID 3644
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 143 of 889 PageID 3645
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 144 of 889 PageID 3646
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 145 of 889 PageID 3647
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 146 of 889 PageID 3648
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 147 of 889 PageID 3649
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 148 of 889 PageID 3650
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 149 of 889 PageID 3651
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 150 of 889 PageID 3652
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 151 of 889 PageID 3653
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 152 of 889 PageID 3654
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 153 of 889 PageID 3655
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 154 of 889 PageID 3656
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 155 of 889 PageID 3657
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 156 of 889 PageID 3658
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 157 of 889 PageID 3659
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 158 of 889 PageID 3660
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 159 of 889 PageID 3661
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 160 of 889 PageID 3662
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 161 of 889 PageID 3663
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 162 of 889 PageID 3664
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 163 of 889 PageID 3665
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 164 of 889 PageID 3666
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 165 of 889 PageID 3667
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 166 of 889 PageID 3668
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 167 of 889 PageID 3669
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 168 of 889 PageID 3670
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 169 of 889 PageID 3671
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 170 of 889 PageID 3672
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 171 of 889 PageID 3673
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 172 of 889 PageID 3674
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 173 of 889 PageID 3675
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 174 of 889 PageID 3676
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 175 of 889 PageID 3677
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 176 of 889 PageID 3678
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 177 of 889 PageID 3679
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 178 of 889 PageID 3680
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 179 of 889 PageID 3681
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 180 of 889 PageID 3682
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 181 of 889 PageID 3683
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 182 of 889 PageID 3684
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 183 of 889 PageID 3685
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 184 of 889 PageID 3686
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 185 of 889 PageID 3687
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 186 of 889 PageID 3688
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 187 of 889 PageID 3689
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 188 of 889 PageID 3690
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 189 of 889 PageID 3691
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 190 of 889 PageID 3692
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 191 of 889 PageID 3693
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 192 of 889 PageID 3694
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 193 of 889 PageID 3695
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 194 of 889 PageID 3696
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 195 of 889 PageID 3697
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 196 of 889 PageID 3698
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 197 of 889 PageID 3699
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 198 of 889 PageID 3700
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 199 of 889 PageID 3701
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 200 of 889 PageID 3702
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 201 of 889 PageID 3703
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 202 of 889 PageID 3704
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 203 of 889 PageID 3705
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 204 of 889 PageID 3706
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 205 of 889 PageID 3707
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 206 of 889 PageID 3708
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 207 of 889 PageID 3709
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 208 of 889 PageID 3710
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 209 of 889 PageID 3711
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 210 of 889 PageID 3712
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 211 of 889 PageID 3713
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 212 of 889 PageID 3714
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 213 of 889 PageID 3715
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 214 of 889 PageID 3716
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 215 of 889 PageID 3717
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 216 of 889 PageID 3718
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 217 of 889 PageID 3719
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 218 of 889 PageID 3720
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 219 of 889 PageID 3721
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 220 of 889 PageID 3722
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 221 of 889 PageID 3723
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 222 of 889 PageID 3724
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 223 of 889 PageID 3725
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 224 of 889 PageID 3726
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 225 of 889 PageID 3727
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 226 of 889 PageID 3728
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 227 of 889 PageID 3729
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 228 of 889 PageID 3730
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 229 of 889 PageID 3731
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 230 of 889 PageID 3732
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 231 of 889 PageID 3733
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 232 of 889 PageID 3734
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 233 of 889 PageID 3735
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 234 of 889 PageID 3736
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 235 of 889 PageID 3737
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 236 of 889 PageID 3738
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 237 of 889 PageID 3739
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 238 of 889 PageID 3740
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 239 of 889 PageID 3741
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 240 of 889 PageID 3742
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 241 of 889 PageID 3743
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 242 of 889 PageID 3744
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 243 of 889 PageID 3745
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 244 of 889 PageID 3746
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 245 of 889 PageID 3747
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 246 of 889 PageID 3748
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 247 of 889 PageID 3749
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 248 of 889 PageID 3750
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 249 of 889 PageID 3751
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 250 of 889 PageID 3752
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 251 of 889 PageID 3753
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 252 of 889 PageID 3754
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 253 of 889 PageID 3755
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 254 of 889 PageID 3756
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 255 of 889 PageID 3757
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 256 of 889 PageID 3758
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 257 of 889 PageID 3759
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 258 of 889 PageID 3760
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 259 of 889 PageID 3761
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 260 of 889 PageID 3762
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 261 of 889 PageID 3763
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 262 of 889 PageID 3764
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 263 of 889 PageID 3765
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 264 of 889 PageID 3766
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 265 of 889 PageID 3767
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 266 of 889 PageID 3768
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 267 of 889 PageID 3769
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 268 of 889 PageID 3770
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 269 of 889 PageID 3771
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 270 of 889 PageID 3772
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 271 of 889 PageID 3773
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 272 of 889 PageID 3774
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 273 of 889 PageID 3775
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 274 of 889 PageID 3776
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 275 of 889 PageID 3777
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 276 of 889 PageID 3778
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 277 of 889 PageID 3779
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 278 of 889 PageID 3780
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 279 of 889 PageID 3781
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 280 of 889 PageID 3782
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 281 of 889 PageID 3783
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 282 of 889 PageID 3784
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 283 of 889 PageID 3785
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 284 of 889 PageID 3786
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 285 of 889 PageID 3787
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 286 of 889 PageID 3788
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 287 of 889 PageID 3789
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 288 of 889 PageID 3790
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 289 of 889 PageID 3791
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 290 of 889 PageID 3792
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 291 of 889 PageID 3793
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 292 of 889 PageID 3794
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 293 of 889 PageID 3795
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 294 of 889 PageID 3796
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 295 of 889 PageID 3797
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 296 of 889 PageID 3798
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 297 of 889 PageID 3799
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 298 of 889 PageID 3800
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 299 of 889 PageID 3801
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 300 of 889 PageID 3802
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 301 of 889 PageID 3803
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 302 of 889 PageID 3804
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 303 of 889 PageID 3805
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 304 of 889 PageID 3806
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 305 of 889 PageID 3807
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 306 of 889 PageID 3808
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 307 of 889 PageID 3809
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 308 of 889 PageID 3810
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 309 of 889 PageID 3811
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 310 of 889 PageID 3812
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 311 of 889 PageID 3813
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 312 of 889 PageID 3814
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 313 of 889 PageID 3815
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 314 of 889 PageID 3816
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 315 of 889 PageID 3817
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 316 of 889 PageID 3818
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 317 of 889 PageID 3819
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 318 of 889 PageID 3820
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 319 of 889 PageID 3821
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 320 of 889 PageID 3822
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 321 of 889 PageID 3823
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 322 of 889 PageID 3824
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 323 of 889 PageID 3825
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 324 of 889 PageID 3826
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 325 of 889 PageID 3827
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 326 of 889 PageID 3828
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 327 of 889 PageID 3829
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 328 of 889 PageID 3830
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 329 of 889 PageID 3831
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 330 of 889 PageID 3832
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 331 of 889 PageID 3833
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 332 of 889 PageID 3834
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 333 of 889 PageID 3835
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 334 of 889 PageID 3836
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 335 of 889 PageID 3837
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 336 of 889 PageID 3838
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 337 of 889 PageID 3839
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 338 of 889 PageID 3840
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 339 of 889 PageID 3841
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 340 of 889 PageID 3842
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 341 of 889 PageID 3843
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 342 of 889 PageID 3844
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 343 of 889 PageID 3845
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 344 of 889 PageID 3846
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 345 of 889 PageID 3847
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 346 of 889 PageID 3848
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 347 of 889 PageID 3849
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 348 of 889 PageID 3850
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 349 of 889 PageID 3851
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 350 of 889 PageID 3852
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 351 of 889 PageID 3853
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 352 of 889 PageID 3854
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 353 of 889 PageID 3855
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 354 of 889 PageID 3856
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 355 of 889 PageID 3857
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 356 of 889 PageID 3858
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 357 of 889 PageID 3859
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 358 of 889 PageID 3860
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 359 of 889 PageID 3861
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 360 of 889 PageID 3862
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 361 of 889 PageID 3863
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 362 of 889 PageID 3864
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 363 of 889 PageID 3865
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 364 of 889 PageID 3866
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 365 of 889 PageID 3867
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 366 of 889 PageID 3868
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 367 of 889 PageID 3869
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 368 of 889 PageID 3870
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 369 of 889 PageID 3871
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 370 of 889 PageID 3872
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 371 of 889 PageID 3873
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 372 of 889 PageID 3874
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 373 of 889 PageID 3875
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 374 of 889 PageID 3876
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 375 of 889 PageID 3877
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 376 of 889 PageID 3878
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 377 of 889 PageID 3879
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 378 of 889 PageID 3880
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 379 of 889 PageID 3881
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 380 of 889 PageID 3882
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 381 of 889 PageID 3883
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 382 of 889 PageID 3884
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 383 of 889 PageID 3885
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 384 of 889 PageID 3886
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 385 of 889 PageID 3887
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 386 of 889 PageID 3888
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 387 of 889 PageID 3889
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 388 of 889 PageID 3890
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 389 of 889 PageID 3891
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 390 of 889 PageID 3892
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 391 of 889 PageID 3893
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 392 of 889 PageID 3894
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 393 of 889 PageID 3895
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 394 of 889 PageID 3896
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 395 of 889 PageID 3897
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 396 of 889 PageID 3898
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 397 of 889 PageID 3899
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 398 of 889 PageID 3900
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 399 of 889 PageID 3901
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 400 of 889 PageID 3902
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 401 of 889 PageID 3903
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 402 of 889 PageID 3904
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 403 of 889 PageID 3905
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 404 of 889 PageID 3906
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 405 of 889 PageID 3907
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 406 of 889 PageID 3908
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 407 of 889 PageID 3909
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 408 of 889 PageID 3910
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 409 of 889 PageID 3911
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 410 of 889 PageID 3912
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 411 of 889 PageID 3913
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 412 of 889 PageID 3914
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 413 of 889 PageID 3915
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 414 of 889 PageID 3916
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 415 of 889 PageID 3917
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 416 of 889 PageID 3918
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 417 of 889 PageID 3919
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 418 of 889 PageID 3920
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 419 of 889 PageID 3921
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 420 of 889 PageID 3922
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 421 of 889 PageID 3923
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 422 of 889 PageID 3924
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 423 of 889 PageID 3925
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 424 of 889 PageID 3926
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 425 of 889 PageID 3927
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 426 of 889 PageID 3928
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 427 of 889 PageID 3929
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 428 of 889 PageID 3930
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 429 of 889 PageID 3931
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 430 of 889 PageID 3932
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 431 of 889 PageID 3933
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 432 of 889 PageID 3934
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 433 of 889 PageID 3935
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 434 of 889 PageID 3936
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 435 of 889 PageID 3937
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 436 of 889 PageID 3938
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 437 of 889 PageID 3939
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 438 of 889 PageID 3940
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 439 of 889 PageID 3941
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 440 of 889 PageID 3942
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 441 of 889 PageID 3943
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 442 of 889 PageID 3944
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 443 of 889 PageID 3945
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 444 of 889 PageID 3946
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 445 of 889 PageID 3947
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 446 of 889 PageID 3948
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 447 of 889 PageID 3949
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 448 of 889 PageID 3950
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 449 of 889 PageID 3951
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 450 of 889 PageID 3952
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 451 of 889 PageID 3953
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 452 of 889 PageID 3954
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 453 of 889 PageID 3955
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 454 of 889 PageID 3956
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 455 of 889 PageID 3957
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 456 of 889 PageID 3958
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 457 of 889 PageID 3959
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 458 of 889 PageID 3960
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 459 of 889 PageID 3961
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 460 of 889 PageID 3962
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 461 of 889 PageID 3963
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 462 of 889 PageID 3964
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 463 of 889 PageID 3965
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 464 of 889 PageID 3966
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 465 of 889 PageID 3967
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 466 of 889 PageID 3968
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 467 of 889 PageID 3969
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 468 of 889 PageID 3970
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 469 of 889 PageID 3971
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 470 of 889 PageID 3972
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 471 of 889 PageID 3973
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 472 of 889 PageID 3974
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 473 of 889 PageID 3975
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 474 of 889 PageID 3976
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 475 of 889 PageID 3977
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 476 of 889 PageID 3978
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 477 of 889 PageID 3979
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 478 of 889 PageID 3980
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 479 of 889 PageID 3981
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 480 of 889 PageID 3982
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 481 of 889 PageID 3983
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 482 of 889 PageID 3984
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 483 of 889 PageID 3985
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 484 of 889 PageID 3986
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 485 of 889 PageID 3987
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 486 of 889 PageID 3988
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 487 of 889 PageID 3989
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 488 of 889 PageID 3990
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 489 of 889 PageID 3991
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 490 of 889 PageID 3992
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 491 of 889 PageID 3993
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 492 of 889 PageID 3994
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 493 of 889 PageID 3995
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 494 of 889 PageID 3996
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 495 of 889 PageID 3997
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 496 of 889 PageID 3998
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 497 of 889 PageID 3999
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 498 of 889 PageID 4000
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 499 of 889 PageID 4001
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 500 of 889 PageID 4002
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 501 of 889 PageID 4003
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 502 of 889 PageID 4004
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 503 of 889 PageID 4005
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 504 of 889 PageID 4006
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 505 of 889 PageID 4007
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 506 of 889 PageID 4008
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 507 of 889 PageID 4009
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 508 of 889 PageID 4010
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 509 of 889 PageID 4011
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 510 of 889 PageID 4012
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 511 of 889 PageID 4013
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 512 of 889 PageID 4014
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 513 of 889 PageID 4015
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 514 of 889 PageID 4016
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 515 of 889 PageID 4017
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 516 of 889 PageID 4018
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 517 of 889 PageID 4019
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 518 of 889 PageID 4020
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 519 of 889 PageID 4021
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 520 of 889 PageID 4022
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 521 of 889 PageID 4023
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 522 of 889 PageID 4024
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 523 of 889 PageID 4025
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 524 of 889 PageID 4026
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 525 of 889 PageID 4027
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 526 of 889 PageID 4028
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 527 of 889 PageID 4029
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 528 of 889 PageID 4030
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 529 of 889 PageID 4031
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 530 of 889 PageID 4032
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 531 of 889 PageID 4033
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 532 of 889 PageID 4034
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 533 of 889 PageID 4035
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 534 of 889 PageID 4036
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 535 of 889 PageID 4037
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 536 of 889 PageID 4038
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 537 of 889 PageID 4039
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 538 of 889 PageID 4040
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 539 of 889 PageID 4041
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 540 of 889 PageID 4042
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 541 of 889 PageID 4043
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 542 of 889 PageID 4044
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 543 of 889 PageID 4045
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 544 of 889 PageID 4046
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 545 of 889 PageID 4047
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 546 of 889 PageID 4048
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 547 of 889 PageID 4049
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 548 of 889 PageID 4050
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 549 of 889 PageID 4051
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 550 of 889 PageID 4052
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 551 of 889 PageID 4053
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 552 of 889 PageID 4054
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 553 of 889 PageID 4055
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 554 of 889 PageID 4056
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 555 of 889 PageID 4057
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 556 of 889 PageID 4058
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 557 of 889 PageID 4059
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 558 of 889 PageID 4060
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 559 of 889 PageID 4061
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 560 of 889 PageID 4062
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 561 of 889 PageID 4063
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 562 of 889 PageID 4064
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 563 of 889 PageID 4065
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 564 of 889 PageID 4066
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 565 of 889 PageID 4067
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 566 of 889 PageID 4068
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 567 of 889 PageID 4069
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 568 of 889 PageID 4070
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 569 of 889 PageID 4071
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 570 of 889 PageID 4072
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 571 of 889 PageID 4073
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 572 of 889 PageID 4074
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 573 of 889 PageID 4075
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 574 of 889 PageID 4076
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 575 of 889 PageID 4077
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 576 of 889 PageID 4078
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 577 of 889 PageID 4079
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 578 of 889 PageID 4080
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 579 of 889 PageID 4081
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 580 of 889 PageID 4082
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 581 of 889 PageID 4083
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 582 of 889 PageID 4084
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 583 of 889 PageID 4085
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 584 of 889 PageID 4086
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 585 of 889 PageID 4087
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 586 of 889 PageID 4088
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 587 of 889 PageID 4089
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 588 of 889 PageID 4090
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 589 of 889 PageID 4091
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 590 of 889 PageID 4092
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 591 of 889 PageID 4093
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 592 of 889 PageID 4094
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 593 of 889 PageID 4095
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 594 of 889 PageID 4096
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 595 of 889 PageID 4097
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 596 of 889 PageID 4098
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 597 of 889 PageID 4099
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 598 of 889 PageID 4100
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 599 of 889 PageID 4101
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 600 of 889 PageID 4102
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 601 of 889 PageID 4103
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 602 of 889 PageID 4104
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 603 of 889 PageID 4105
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 604 of 889 PageID 4106
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 605 of 889 PageID 4107
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 606 of 889 PageID 4108
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 607 of 889 PageID 4109
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 608 of 889 PageID 4110
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 609 of 889 PageID 4111
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 610 of 889 PageID 4112
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 611 of 889 PageID 4113
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 612 of 889 PageID 4114
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 613 of 889 PageID 4115
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 614 of 889 PageID 4116
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 615 of 889 PageID 4117
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 616 of 889 PageID 4118
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 617 of 889 PageID 4119
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 618 of 889 PageID 4120
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 619 of 889 PageID 4121
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 620 of 889 PageID 4122
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 621 of 889 PageID 4123
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 622 of 889 PageID 4124
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 623 of 889 PageID 4125
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 624 of 889 PageID 4126
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 625 of 889 PageID 4127
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 626 of 889 PageID 4128
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 627 of 889 PageID 4129
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 628 of 889 PageID 4130
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 629 of 889 PageID 4131
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 630 of 889 PageID 4132
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 631 of 889 PageID 4133
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 632 of 889 PageID 4134
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 633 of 889 PageID 4135
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 634 of 889 PageID 4136
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 635 of 889 PageID 4137
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 636 of 889 PageID 4138
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 637 of 889 PageID 4139
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 638 of 889 PageID 4140
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 639 of 889 PageID 4141
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 640 of 889 PageID 4142
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 641 of 889 PageID 4143
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 642 of 889 PageID 4144
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 643 of 889 PageID 4145
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 644 of 889 PageID 4146
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 645 of 889 PageID 4147
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 646 of 889 PageID 4148
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 647 of 889 PageID 4149
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 648 of 889 PageID 4150
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 649 of 889 PageID 4151
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 650 of 889 PageID 4152
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 651 of 889 PageID 4153
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 652 of 889 PageID 4154
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 653 of 889 PageID 4155
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 654 of 889 PageID 4156
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 655 of 889 PageID 4157
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 656 of 889 PageID 4158
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 657 of 889 PageID 4159
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 658 of 889 PageID 4160
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 659 of 889 PageID 4161
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 660 of 889 PageID 4162
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 661 of 889 PageID 4163
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 662 of 889 PageID 4164
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 663 of 889 PageID 4165
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 664 of 889 PageID 4166
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 665 of 889 PageID 4167
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 666 of 889 PageID 4168
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 667 of 889 PageID 4169
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 668 of 889 PageID 4170
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 669 of 889 PageID 4171
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 670 of 889 PageID 4172
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 671 of 889 PageID 4173
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 672 of 889 PageID 4174
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 673 of 889 PageID 4175
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 674 of 889 PageID 4176
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 675 of 889 PageID 4177
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 676 of 889 PageID 4178
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 677 of 889 PageID 4179
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 678 of 889 PageID 4180
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 679 of 889 PageID 4181
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 680 of 889 PageID 4182
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 681 of 889 PageID 4183
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 682 of 889 PageID 4184
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 683 of 889 PageID 4185
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 684 of 889 PageID 4186
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 685 of 889 PageID 4187
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 686 of 889 PageID 4188
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 687 of 889 PageID 4189
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 688 of 889 PageID 4190
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 689 of 889 PageID 4191
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 690 of 889 PageID 4192
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 691 of 889 PageID 4193
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 692 of 889 PageID 4194
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 693 of 889 PageID 4195
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 694 of 889 PageID 4196
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 695 of 889 PageID 4197
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 696 of 889 PageID 4198
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 697 of 889 PageID 4199
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 698 of 889 PageID 4200
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 699 of 889 PageID 4201
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 700 of 889 PageID 4202
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 701 of 889 PageID 4203
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 702 of 889 PageID 4204
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 703 of 889 PageID 4205
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 704 of 889 PageID 4206
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 705 of 889 PageID 4207
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 706 of 889 PageID 4208
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 707 of 889 PageID 4209
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 708 of 889 PageID 4210
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 709 of 889 PageID 4211
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 710 of 889 PageID 4212
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 711 of 889 PageID 4213
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 712 of 889 PageID 4214
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 713 of 889 PageID 4215
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 714 of 889 PageID 4216
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 715 of 889 PageID 4217
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 716 of 889 PageID 4218
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 717 of 889 PageID 4219
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 718 of 889 PageID 4220
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 719 of 889 PageID 4221
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 720 of 889 PageID 4222
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 721 of 889 PageID 4223
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 722 of 889 PageID 4224
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 723 of 889 PageID 4225
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 724 of 889 PageID 4226
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 725 of 889 PageID 4227
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 726 of 889 PageID 4228
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 727 of 889 PageID 4229
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 728 of 889 PageID 4230
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 729 of 889 PageID 4231
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 730 of 889 PageID 4232
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 731 of 889 PageID 4233
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 732 of 889 PageID 4234
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 733 of 889 PageID 4235
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 734 of 889 PageID 4236
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 735 of 889 PageID 4237
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 736 of 889 PageID 4238
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 737 of 889 PageID 4239
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 738 of 889 PageID 4240
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 739 of 889 PageID 4241
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 740 of 889 PageID 4242
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 741 of 889 PageID 4243
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 742 of 889 PageID 4244
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 743 of 889 PageID 4245
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 744 of 889 PageID 4246
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 745 of 889 PageID 4247
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 746 of 889 PageID 4248
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 747 of 889 PageID 4249
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 748 of 889 PageID 4250
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 749 of 889 PageID 4251
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 750 of 889 PageID 4252
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 751 of 889 PageID 4253
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 752 of 889 PageID 4254
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 753 of 889 PageID 4255
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 754 of 889 PageID 4256
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 755 of 889 PageID 4257
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 756 of 889 PageID 4258
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 757 of 889 PageID 4259
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 758 of 889 PageID 4260
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 759 of 889 PageID 4261
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 760 of 889 PageID 4262
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 761 of 889 PageID 4263
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 762 of 889 PageID 4264
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 763 of 889 PageID 4265
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 764 of 889 PageID 4266
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 765 of 889 PageID 4267
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 766 of 889 PageID 4268
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 767 of 889 PageID 4269
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 768 of 889 PageID 4270
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 769 of 889 PageID 4271
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 770 of 889 PageID 4272
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 771 of 889 PageID 4273
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 772 of 889 PageID 4274
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 773 of 889 PageID 4275
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 774 of 889 PageID 4276
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 775 of 889 PageID 4277
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 776 of 889 PageID 4278
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 777 of 889 PageID 4279
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 778 of 889 PageID 4280
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 779 of 889 PageID 4281
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 780 of 889 PageID 4282
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 781 of 889 PageID 4283
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 782 of 889 PageID 4284
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 783 of 889 PageID 4285
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 784 of 889 PageID 4286
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 785 of 889 PageID 4287
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 786 of 889 PageID 4288
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 787 of 889 PageID 4289
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 788 of 889 PageID 4290
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 789 of 889 PageID 4291
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 790 of 889 PageID 4292
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 791 of 889 PageID 4293
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 792 of 889 PageID 4294
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 793 of 889 PageID 4295
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 794 of 889 PageID 4296
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 795 of 889 PageID 4297
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 796 of 889 PageID 4298
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 797 of 889 PageID 4299
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 798 of 889 PageID 4300
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 799 of 889 PageID 4301
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 800 of 889 PageID 4302
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 801 of 889 PageID 4303
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 802 of 889 PageID 4304
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 803 of 889 PageID 4305
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 804 of 889 PageID 4306
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 805 of 889 PageID 4307
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 806 of 889 PageID 4308
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 807 of 889 PageID 4309
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 808 of 889 PageID 4310
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 809 of 889 PageID 4311
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 810 of 889 PageID 4312
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 811 of 889 PageID 4313
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 812 of 889 PageID 4314
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 813 of 889 PageID 4315
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 814 of 889 PageID 4316
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 815 of 889 PageID 4317
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 816 of 889 PageID 4318
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 817 of 889 PageID 4319
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 818 of 889 PageID 4320
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 819 of 889 PageID 4321
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 820 of 889 PageID 4322
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 821 of 889 PageID 4323
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 822 of 889 PageID 4324
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 823 of 889 PageID 4325
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 824 of 889 PageID 4326
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 825 of 889 PageID 4327
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 826 of 889 PageID 4328
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 827 of 889 PageID 4329
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 828 of 889 PageID 4330
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 829 of 889 PageID 4331
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 830 of 889 PageID 4332
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 831 of 889 PageID 4333
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 832 of 889 PageID 4334
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 833 of 889 PageID 4335
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 834 of 889 PageID 4336
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 835 of 889 PageID 4337
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 836 of 889 PageID 4338
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 837 of 889 PageID 4339
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 838 of 889 PageID 4340
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 839 of 889 PageID 4341
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 840 of 889 PageID 4342
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 841 of 889 PageID 4343
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 842 of 889 PageID 4344
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 843 of 889 PageID 4345
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 844 of 889 PageID 4346
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 845 of 889 PageID 4347
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 846 of 889 PageID 4348
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 847 of 889 PageID 4349
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 848 of 889 PageID 4350
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 849 of 889 PageID 4351
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 850 of 889 PageID 4352
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 851 of 889 PageID 4353
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 852 of 889 PageID 4354
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 853 of 889 PageID 4355
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 854 of 889 PageID 4356
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 855 of 889 PageID 4357
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 856 of 889 PageID 4358
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 857 of 889 PageID 4359
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 858 of 889 PageID 4360
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 859 of 889 PageID 4361
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 860 of 889 PageID 4362
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 861 of 889 PageID 4363
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 862 of 889 PageID 4364
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 863 of 889 PageID 4365
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 864 of 889 PageID 4366
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 865 of 889 PageID 4367
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 866 of 889 PageID 4368
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 867 of 889 PageID 4369
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 868 of 889 PageID 4370
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 869 of 889 PageID 4371
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 870 of 889 PageID 4372
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 871 of 889 PageID 4373
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 872 of 889 PageID 4374
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 873 of 889 PageID 4375
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 874 of 889 PageID 4376
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 875 of 889 PageID 4377
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 876 of 889 PageID 4378
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 877 of 889 PageID 4379
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 878 of 889 PageID 4380
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 879 of 889 PageID 4381
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 880 of 889 PageID 4382
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 881 of 889 PageID 4383
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 882 of 889 PageID 4384
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 883 of 889 PageID 4385
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 884 of 889 PageID 4386
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 885 of 889 PageID 4387
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 886 of 889 PageID 4388
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 887 of 889 PageID 4389
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 888 of 889 PageID 4390
Case 3:09-cv-01368-L-BN Document 127-5 Filed 12/13/17   Page 889 of 889 PageID 4391
